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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA


 ABBY OWENS, ET AL.                                  CIVIL ACTION NO. 3:21-CV-00242

 VERSUS                                              JUDGE WENDY B. VITTER

 LOUISIANA STATE UNIVERSITY,                         MAGISTRATE JUDGE JOHNSON
 ET AL.

                                          ORDER

        CONSIDERING the Unopposed Motion for Extension of Time to Provide Certain Expert

Reports filed by Defendant Board of Supervisors of Louisiana State University and Agricultural

and Mechanical College;

        IT IS ORDERED that the Motion is GRANTED. The expert reports with respect to Jade

Lewis and Jane Doe are due on April 5, 2023.

        New Orleans, Louisiana, this __________ day of ___________________, 2023.



                                                       ________________________________
                                                                      WENDY B. VITTER
                                                       UNITED STATES DISTRICT JUDGE




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